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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Lakeland Tours, LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          218 Water Street West                                       49 West 45th Street
                                          Number            Street                                    Number         Street

                                          Suite 400

                                          Charlottesville, VA                                         New York, New York 10036
                                                                                                      City                         State      Zip Code

                                          City                            State      Zip Code
                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business


                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://worldstrides.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            Lakeland Tours, LLC                                              Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5615 (Travel Arrangement and Reservation Services)

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

                                            ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                        ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     debtor” must check the first sub-                          aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     box. A debtor as defined in §                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
     1182(1) who elects to proceed                              balance sheet, statement of operations, cash-flow statement, and federal income tax
     under subchapter V of chapter 11                           return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
     (whether or not the debtor is a                            1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
                                                                liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
                                                                and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                                selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if any of these documents do not exist,
                                                                follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              ☒ A plan is being filed with this petition.

                                                              ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes.    District                           When                       Case number
   within the last 8 years?                                                                    MM/DD/YYYY
     If more than 2 cases, attach a                District                           When                       Case number
     separate list.                                                                            MM/DD/YYYY




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Debtor           Lakeland Tours, LLC                                                 Case number (if known)
          Name



10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                      Relationship    Affiliate
                                                      Debtor        See attached Schedule 1
    business partner or an
    affiliate of the debtor?                          District     Southern District of New York
   List all cases. If more than 1,                                                                                   When            07/20/2020
   attach a separate list.                          Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this       Check all that apply:
    district?
                                        ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.
                                        ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                  ☐     It needs to be physically secured or protected from the weather.

                                                    ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).
                                                  ☐     Other


                                                  Where is the property?
                                                                                       Number          Street



                                                                                       City                                  State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.         Insurance agency

                                                                 Contact name
                                                                 Phone




                       Statistical and administrative information

13. Debtor's estimation of             Check one:
    available funds
                                       ☒ Funds will be available for distribution to unsecured creditors.
                                       ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                ☐     1-49                         ☐     1,000-5,000                      ☐     25,001-50,000
    creditors (on a                    ☐     50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)                ☐     100-199                      ☐     10,001-25,000                    ☒     More than 100,000
                                       ☐     200-999




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Debtor           Lakeland Tours, LLC                                                   Case number (if known)
          Name



15. Estimated assets (on a             ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)                ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                       ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                       ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion



16. Estimated liabilities (on          ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)              ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                       ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                       ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of           petition.
    debtor
                                           I have been authorized to file this petition on behalf of the debtor.
                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                           correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on            07/20/2020
                                                                MM/ DD / YYYY


                                                /s/ Kellie Goldstein                                               Kellie Goldstein
                                                Signature of authorized representative of debtor                Printed name

                                                Title    Chief Financial Officer




18. Signature of attorney                       /s/ Nicole L. Greenblatt                                       Date        07/20/2020
                                                Signature of attorney for debtor                                           MM/ DD/YYYY



                                                Nicole L. Greenblatt
                                                Printed name
                                                Kirkland & Ellis LLP
                                                Firm name
                                                601 Lexington Avenue
                                                Number               Street
                                                New York                                                               New York          10022
                                                City                                                                   State               ZIP Code
                                                (212) 446-4800                                                         nicole.greenblatt@kirkland.com
                                                Contact phone                                                               Email address
                                                4162475                                             New York
                                                Bar number                                          State




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     Fill in this information to identify the case:
                                                                            ,
     United States Bankruptcy Court for the:
                          Southern District of New York
                                         (State)                                                      ☐ Check if this is an
     Case number (if                                                                                      amended filing
     known):                                          Chapter   11



                                                  Rider 1
                   Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

            On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
    the United States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title
    11 of the United States Code. The Debtors have moved for joint administration of these cases under the
    case number assigned to the chapter 11 case of Lakeland Tours, LLC.

   Lakeland Tours, LLC                                                 Lakeland Seller Finance, LLC
   Brightspark Travel, Inc.                                            Leadership Platform Acquisition Corporation
   Explorica Merida Holdings, LLC                                      National Educational Travel Council, LLC
   Explorica Travel, Inc.                                              Oxbridge Academic Resources, LLC
   Explorica, Inc.                                                     Travel Turf, Inc.
   GlobaLinks - Canada, LLC                                            WH Blocker, Inc.
   GlobaLinks, LLC                                                     WorldStrides Holdings, LLC
   Heritage Education & Festivals, LLC                                 WorldStrides International, LLC
   International Studies Abroad, LLC                                   WS Holdings Acquisition, Inc.
   ISA World Holding, LLC                                              WS Holdings, Inc.
   Lakeland Finance, LLC                                               WS Purchaser, Inc.
   Lakeland Holdings, LLC
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Fill in this information to identify the case:

Debtor name        Lakeland Tours, LLC, et al.

United States Bankruptcy Court for the:     Southern District of New York                                                                   Check if this is an
Case number (If known):                                                             (State)                                                  amended filing



Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
Unsecured Claims and Are Not Insiders                                                                                                                          12/15

       A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
       the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also,
       do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
       creditor among the holders of the 50 largest unsecured claims.

                                                                                                                          Amount of claim
                                                                                                               If the claim is fully unsecured, fill in only
                                                                            Nature of                             unsecured claim amount. If claim is
                                                                             claim                            partially secured, fill in total claim amount
                                                                                 (for                           and deduction for value of collateral or
                                                                              example,                            setoff to calculate unsecured claim.
                                                                            trade debts,
                                                                            bank loans,
                                                                            professional        Indicate if                 Deduction
              Name of creditor and                Name, telephone             services,          claim is      Total         for value
                complete mailing                 number and email               and            contingent,    claim, if          of          Unsecured
              address, including zip             address of creditor        government        unliquidated,   partially     collateral         Claim
                      code                            contact                contracts)        or disputed    secured       or setoff 1      Amount ($)
                  Globetrotter Co-
                  Investment B LP
                  c/o Metalmark Capital
                  Holdings LLC
                  1177 Avene of the
                  Americas, 40th Floor
                  Attn: Jeffrey M.
                  Siegal & Donald
                  Gerne
                  New York, NY 10036

                  Globetrotter Co-
                  Investment B LP
                  c/o Silverhawk      212-701-5184
              1   Capital Partners    jeffrey.siegal@metalmar               Seller Note                                                    99,411,064.13
                  Attn: James Cook &  kcapital.com
                  David Scanlan
                  140 Greenwich
                  Avenue
                  Greenwich, CT 06830

                  Globetrotter Co-
                  Investment B LP
                  c/o Davis Polk &
                  Wardwell LLP
                  Attn: Michael Davis
                  450 Lexington
                  Avenue
                  New York, NY 10017



          1
              The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed
                herein.



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                                                                                                 Amount of claim
                                                                                      If the claim is fully unsecured, fill in only
                                                      Nature of                          unsecured claim amount. If claim is
                                                       claim                         partially secured, fill in total claim amount
                                                           (for                        and deduction for value of collateral or
                                                        example,                         setoff to calculate unsecured claim.
                                                      trade debts,
                                                      bank loans,
                                                      professional     Indicate if                 Deduction
Name of creditor and          Name, telephone           services,       claim is      Total         for value
  complete mailing           number and email             and         contingent,    claim, if          of          Unsecured
address, including zip       address of creditor      government     unliquidated,   partially     collateral         Claim
        code                      contact              contracts)     or disputed    secured       or setoff 1      Amount ($)

     James Hall
2                            jimhall4989@gmail.com    Seller Note                                                  2,861,043.79
     Address on file.




     Anish Rajparia
3                            arajparia@yahoo.com      Seller Note                                                  1,711,269.88
     Address on file.




     Theresa Morgoglione     TERRIM@worldstrides.o
4                                                     Seller Note                                                  1,618,435.09
     Address on file.        rg




     The James Marshall
5    Irrev Living Trust      jimhall4989@gmail.com    Seller Note                                                  1,414,021.64
     Address on file.



     International Studies
     Abroad, Inc.
                             gustavo@gen1research.
6    1605 Resaca                                      Seller Note                                                  1,338,387.41
                             com
     Boulevard
     Austin, TX 78738



     Adam Hall
7                            oofgallen@yahoo.com      Seller Note                                                  1,249,551.25
     Address on file.

     Appletree Holdings
     LLC
     1225 Apple Tree         EARLG@worldstrides.or
8                                                     Seller Note                                                  1,211,302.59
     Lane                    g
     Charlottesville, VA
     22901

     Frederick O'Connor      fredoconnorjr@gmail.co
9                                                     Seller Note                                                  1,156,894.96
     Address on file.        m




     James Creighton         jim.creighton@gmail.co
10                                                    Seller Note                                                   622,753.69
     Address on file.        m




                                                             2
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                                                                                                 Amount of claim
                                                                                      If the claim is fully unsecured, fill in only
                                                      Nature of                          unsecured claim amount. If claim is
                                                       claim                         partially secured, fill in total claim amount
                                                           (for                        and deduction for value of collateral or
                                                        example,                         setoff to calculate unsecured claim.
                                                      trade debts,
                                                      bank loans,
                                                      professional     Indicate if                 Deduction
Name of creditor and         Name, telephone            services,       claim is      Total         for value
  complete mailing          number and email              and         contingent,    claim, if          of          Unsecured
address, including zip      address of creditor       government     unliquidated,   partially     collateral         Claim
        code                     contact               contracts)     or disputed    secured       or setoff 1      Amount ($)
     Earl Martin Grossman
     Irrev Family Tr
                          EARLG@worldstrides.or
11   c/o Suzanne                                      Seller Note                                                   581,186.00
                          g
     Grossman, Trustee
     Address on file.


     James Gerber           jamesc.gerber@gmail.c
12                                                    Seller Note                                                   565,041.93
     Address on file.       om




     Richard Lin
13                          richardylin@yahoo.com     Seller Note                                                   546,314.84
     Address on file.



     Francois Martin        FRANCOISM@worldstri
14                                                    Seller Note                                                   516,609.77
     Address on file.       des.org



     Jacob Mitchell         jake.mitchell93@gmail.c
15                                                    Seller Note                                                   506,923.33
     Address on file.       om

     Cognizant
     Technology Solutions
     US Corp.
     Glenpointe Centre      Brian.Humphries@cogni
16                                                    Vendor AP                                                     480,739.00
     West                   zant.com
     500 Frank West Burr
     Blvd
     Teaneck, NJ 07666

     Michael Smith          michaels@worldstrides.
17                                                    Seller Note                                                   445,575.92
     Address on file.       org




     Matthew Wertz
18                          mwertz@explorica.com      Seller Note                                                   435,889.49
     Address on file.




     James Cigliano
19                          jimci@worldstrides.org    Seller Note                                                   411,673.41
     Address on file.




                                                             3
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                                                                                                   Amount of claim
                                                                                        If the claim is fully unsecured, fill in only
                                                        Nature of                          unsecured claim amount. If claim is
                                                         claim                         partially secured, fill in total claim amount
                                                             (for                        and deduction for value of collateral or
                                                          example,                         setoff to calculate unsecured claim.
                                                        trade debts,
                                                        bank loans,
                                                        professional     Indicate if                 Deduction
Name of creditor and            Name, telephone           services,       claim is      Total         for value
  complete mailing             number and email             and         contingent,    claim, if          of          Unsecured
address, including zip         address of creditor      government     unliquidated,   partially     collateral         Claim
        code                        contact              contracts)     or disputed    secured       or setoff 1      Amount ($)

     Dennis Liberson           dennis@bollingbranch.c
20                                                      Seller Note                                                   366,311.85
     Address on file.          om

     Asia Education
     Consulting, Ltd
     2/F, Palm Grove
21   House, Wickhams           xavi@leadform.org        Seller Note                                                   361,026.26
     Cay, Road Town
     Tortola, British Virgin
     Islands

     OAP Holdings, Inc.
     370 Riverside Dr Apt      jbasker@jamesgbasker.
22                                                      Seller Note                                                   339,025.16
     15E                       com
     New York, NY 10025



     Hunter Johnson
23                             hunterj@acac.com         Seller Note                                                   322,881.09
     Address on file.



     Dominik Wanner            dominikwanner@worldst
24                                                      Seller Note                                                   306,372.51
     Address on file.          rides.org


     RST Marketing
25   Association Inc           glen@rstmkt.com          Vendor AP                                                     293,057.19
     Address on file.



     Jamie Cairns              jamieccairns@gmail.co
26                                                      Seller Note                                                   290,593.00
     Address on file.          m




     Ripley Hunter
27                             riph@gettravel.com       Seller Note                                                   258,304.88
     Address on file.



     Spirit II Family LLC
                               gustavo@gen1research.
28   1605 Resaca Blvd                                   Seller Note                                                   258,304.88
                               com
     Austin, TX 78738


     Dan Kellerd
                               dank@worldstrides.com.
29   2/15 Duffy Street                                  Seller Note                                                   232,474.40
                               au
     Address on file.




                                                               4
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                                                                                                 Amount of claim
                                                                                      If the claim is fully unsecured, fill in only
                                                      Nature of                          unsecured claim amount. If claim is
                                                       claim                         partially secured, fill in total claim amount
                                                           (for                        and deduction for value of collateral or
                                                        example,                         setoff to calculate unsecured claim.
                                                      trade debts,
                                                      bank loans,
                                                      professional     Indicate if                 Deduction
Name of creditor and          Name, telephone           services,       claim is      Total         for value
  complete mailing           number and email             and         contingent,    claim, if          of          Unsecured
address, including zip       address of creditor      government     unliquidated,   partially     collateral         Claim
        code                      contact              contracts)     or disputed    secured       or setoff 1      Amount ($)

     Aaron Joseph
30   Borenstein Trust        William874@msn.com       Seller Note                                                   229,784.80
     Address on file.


     Ethan William
31   Borenstein Trust        William874@msn.com       Seller Note                                                   229,784.80
     Address on file.


     Jacob Robert
32   Borenstein Trust        William874@msn.com       Seller Note                                                   229,781.57
     Address on file.


     Olle Olsson             OLLEAOLSSON@GMAI
33                                                    Seller Note                                                   226,003.85
     Address on file.        L.COM

     Education Abroad
     Network, LLC (TEAN)
     The Education
     Abroad Network      chris.shepard@teanabro
34                                                     Earn Out                                                     202,651.00
     505 N La Salle Dr., ad.org
     Suite 200
     Chicago, IL 60654-
     7103

     Leandra Jenkins         Leandraj@worldstrides.
35                                                    Seller Note                                                   201,422.91
     Address on file.        org



     Rafael Hoyle
36                           rafaelhoyle@icloud.com   Seller Note                                                   198,772.06
     Address on file.


     Rajparia Irrev Tr fbo
     Kaya Rajparia
37                           arajparia@yahoo.com      Seller Note                                                   193,728.65
     c/o Priya Rajparia
     Address on file.

     Rajparia Irrev Tr fbo
     saira Rajparia
38                           arajparia@yahoo.com      Seller Note                                                   193,728.65
     c/o Priya Rajparia
     Address on file.
     Rajparia Irrev Tr fbo
     Amit Rajparia
39   c/o Priya Rajparia      arajparia@yahoo.com      Seller Note                                                   193,728.65
      Address on file.




                                                             5
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                                                                                                   Amount of claim
                                                                                        If the claim is fully unsecured, fill in only
                                                        Nature of                          unsecured claim amount. If claim is
                                                         claim                         partially secured, fill in total claim amount
                                                             (for                        and deduction for value of collateral or
                                                          example,                         setoff to calculate unsecured claim.
                                                        trade debts,
                                                        bank loans,
                                                        professional     Indicate if                 Deduction
Name of creditor and           Name, telephone            services,       claim is      Total         for value
  complete mailing            number and email              and         contingent,    claim, if          of          Unsecured
address, including zip        address of creditor       government     unliquidated,   partially     collateral         Claim
        code                       contact               contracts)     or disputed    secured       or setoff 1      Amount ($)
     Sitecore USA LLC
     US Headquarters
     101 California Street,   heather.mcdarby@sitec
40                                                      Vendor AP                                                     193,545.00
     Floor 16                 ore.com
     San Francisco, CA
     94111

     Timothy Sweeney
41                            tims@worldstrides.org     Seller Note                                                   191,788.14
     Address on file.



     Keith Johnson
42                            KeithJ@worldstrides.org   Seller Note                                                   178,230.36
     Address on file.



     Dennis Hall              dennish@worldstrides.o
43                                                      Seller Note                                                   176,938.84
     Address on file.         rg



     David Conklin
44                            dconklin@explorica.com    Seller Note                                                   176,612.73
     Address on file.

     Trip Mate, Inc. Arch
     Whls Premium
45   PO Box 954945            djones@tripmate.com       Vendor AP                                                     167,397.00
     St. Louis. MO 63195-
     4945
     SHI International
     Corporation
46   290 Davidson             al_fitzgerald@shi.com     Vendor AP                                                     162,125.97
     Avenue
     Somerset, NJ 08873

     David Leneker            DavidL@worldstrides.or
47                                                      Seller Note                                                   153,852.83
     Address on file.         g



     Susan Johnson            shjohnson1222@gmail.c
48                                                      Seller Note                                                   153,368.52
     Address on file.         om

     InnerWorkings Inc
     Attn: Oren Azar
49   203 N LaSalle Street,    oazar@inwk.com            Vendor AP                                                     135,900.47
     Suite 1800
     Chicago, IL 60601

     Elizabeth Follansbee     efollansbee@hotmail.co
50                                                      Seller Note                                                   135,422.79
     Address on file.         m




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          )
     In re:                                               )      Chapter 11
                                                          )
     LAKELAND TOURS, LLC,                                 )      Case No. 20-___________(___)
                                                          )
                              Debtor.                     )
                                                          )

                                    LIST OF EQUITY SECURITY HOLDERS1

              Debtor                Equity Holders             Address of Equity Holder           Percentage of
                                                                                                   Equity Held
                                                                 218 Water Street West
      Lakeland Tours, LLC       Lakeland Finance, LLC                   Suite 400                    100%
                                                              Charlottesville, Virginia 22902




 1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
        Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the
        chapter 11 case.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 LAKELAND TOURS, LLC,                                 )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

                Lakeland Finance, LLC                                            100%
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    Fill in this information to identify the case and this filing:

   Debtor Name          Lakeland Tours, LLC

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement



    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                       07/20/2020                                 /s/ Kellie Goldstein
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Kellie Goldstein
                                                                                 Printed name
                                                                                 Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               OFFICER CERTIFICATE

                                       July 20, 2020

The undersigned, Kellie Goldstein, as the chief financial officer of each of the companies
listed on Appendix I (each, a “Company” and, collectively, the “Companies”), hereby
certifies as follows:

1.     I am the duly qualified and elected chief financial officer of the Companies and, as
       such, I am familiar with the facts herein certified and I am duly authorized to certify
       the same on behalf of the Companies.

2.     Attached hereto is a true, complete, and correct copy of the resolutions of the
       Companies’ boards of directors, the manager, or sole member, as applicable
       (collectively, the “Board”), duly adopted at a properly convened and joint meeting of
       the Board of July 20, 2020, of each Company in accordance with the applicable
       limited liability company agreements, operating agreement, bylaws, or similar
       governing document (in each case as amended or amended and restated) of each
       Company.

3.     Since their adoption and execution, the resolutions have not been modified, rescinded,
       or amended and are in full force and effect as of the date hereof, and the resolutions
       are the only resolutions adopted by the Board of each Company relating to the
       authorization and ratification of all corporate actions taken in connection with the
       matters referred to therein.




                                      [Signature page
                                          follows]
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                                              Annex I

1. Lakeland Holdings, LLC, a Delaware limited liability company

2. WS Holdings Acquisition, Inc., a Delaware corporation

3. WS Holdings, Inc., a Delaware corporation

4. WS Purchaser, Inc., a Delaware corporation

5. WH Blocker, Inc., a Delaware corporation

6. Lakeland Seller Finance, LLC, a Delaware limited liability company

7. WorldStrides Holdings, LLC, a Delaware limited liability company

8. Lakeland Tours, LLC, a Delaware limited liability company

9. Lakeland Finance, LLC, a Delaware limited liability company

10. Heritage Education and Festivals, LLC, a Delaware limited liability company

11. Oxbridge Academic Resources, LLC, a Delaware limited liability company

12. WorldStrides International, LLC, a Delaware limited liability company

13. Explorica, Inc., a Delaware corporation

14. Explorica Travel, Inc., a Massachusetts corporation

15. Explorica Merida Holdings, LLC, a Delaware limited liability company

16. Leadership Platform Acquisition Corporation, a Delaware corporation

17. Brightspark Travel, Inc., a Delaware corporation

18. Travel Turf, Inc., a Delaware corporation

19. National Educational Travel Council, LLC, a Delaware limited liability company

20. International Studies Abroad LLC, a Delaware limited liability company

21. ISA World Holdings, LLC, a Delaware limited liability company

22. GlobaLinks - Canada, LLC, a Colorado limited liability company

23. GlobaLinks, LLC, a Colorado limited liability company




                              [Signature Page to Officer Certificate]
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                            OMNIBUS RESOLUTIONS FOR THE
                         BOARD OF DIRECTORS AND SOLE MEMBER

                                                 July 20, 2020

       The undersigned being each of the board of directors and the sole member as applicable (each, a
“Governing Body”), of each of the entities listed on Exhibit A hereto (collectively, the “Company” or each,
a “Company”, as applicable) do hereby take the following actions and adopt the following resolutions:

         WHEREAS, each Governing Body has reviewed and considered advice and presentations by
management and the financial and legal advisors of the Company, the strategic and other alternatives
available to it, and the effect of the foregoing on the Company’s business and has determined, in the
business judgment of each Governing Body and based on the recommendation from the Company’s
management, advisors and the Special Committee formed by the Management Committee of Lakeland
Holdings, LLC (the “Special Committee”), that it is in the best interests of the Company, its equityholders,
its creditors and other parties in interest to enter into that certain restructuring support agreement (as
amended, restated, and supplemented from time to time, the “Restructuring Support Agreement”) and the
transactions contemplated therein;

        WHEREAS, the Restructuring Support Agreement contemplates, among other things, entry into
the DIP Financing, initiating solicitation of votes on the Plan, and filing the Chapter 11 Case, each as
defined and more fully described herein);

        WHEREAS, the Company and its advisors have apprised each Governing Body of the key terms
of the Restructuring Support Agreement, the Plan, the Disclosure Statement (as defined herein), and the
DIP Financing and each Governing Body has had the opportunity to review the forms of such documents;
and

         WHEREAS, the Restructuring Support Agreement provides that it can be terminated if each
Governing Body determines in good faith, after consulting with counsel, that proceeding with the
transactions contemplated thereby would be inconsistent with applicable law or its fiduciary obligations
under applicable law.

        NOW, THEREFORE, BE IT,

   I.    RATIFICATION OF ENTRY INTO RESTRUCTURING SUPPORT AGREEMENT AND
                             SOLICITATION OF THE PLAN

         RESOLVED, that in the business judgment of each Governing Body and based on the
recommendation from the Company’s management and advisors and the Special Committee, it is desirable
and in the best interests of the Company, its equityholders, its creditors, and other parties in interest to enter
into the Restructuring Support Agreement and to commence solicitation of the prepackaged chapter 11 plan
of reorganization contemplated by the Restructuring Support Agreement (as amended, restated, and
supplemented from time to time, the “Plan”) pursuant to sections 1125(g) and 1126(b) of the Bankruptcy
Code and rule 3018(b) of the Federal Rules of Bankruptcy Procedure by sending all holders entitled to vote
on the Plan the Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization of
Lakeland Tours, LLC d/b/a WorldStrides and its Debtor Affiliates substantially in the form presented to
each Governing Body (the “Disclosure Statement”) and that each Company’s performance of its
obligations under the Restructuring Support Agreement and any further negotiation and documentation of
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the Plan and Disclosure Statement be and hereby is, in all respects, authorized, approved and ratified; and
further

         RESOLVED, that the Chief Executive Officer or Chief Financial Officer, as applicable or any
other duly appointed officer of the Company (collectively, the “Authorized Signatories”), acting alone or
with one or more other Authorized Signatories, be, and they hereby are, authorized, empowered, and
directed to execute the Restructuring Support Agreement on behalf of the Company, and perform all the
transactions contemplated thereby, including commencing solicitation of the Plan; and further

                               II.    CHAPTER 11 FILING AUTHORITY

         RESOLVED, that in the business judgment of each Governing Body and based on the
recommendation from the Company’s management and advisors and the Special Committee, it is desirable
and in the best interests of the Company (including a consideration of its creditors, its equityholders and
other parties in interest) that the Company is hereby authorized to file, or cause to be filed, a voluntary
petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”) in the bankruptcy court for the Southern District of New York
(the “Bankruptcy Court”) and any other petition for relief or recognition or other order that may be
desirable under applicable law in the United States; and further

         RESOLVED, that the Authorized Signatories, acting alone or with one or more other Authorized
Signatories are authorized, empowered, and directed to execute and file on behalf of the Company all
petitions, schedules, lists, and other motions, papers, or documents, and to take any and all action that they
deem necessary or proper to obtain such relief, including, without limitation, any action necessary to
maintain the ordinary course operation of the Company’s business; and further

                              III.    RETENTION OF PROFESSIONALS

        RESOLVED, that each of the Authorized Signatories is authorized and directed to employ the law
firm of Kirkland & Ellis LLP (“Kirkland”) as general bankruptcy counsel to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
the Company’s rights and obligations, including filing any motions, objections, replies, applications, or
pleadings; and in connection therewith, each of the Authorized Signatories, with power of delegation, is
hereby authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Kirkland; and further

        RESOLVED, that each of the Authorized Signatories is authorized and directed to employ the firm
KPMG LP (“KPMG”) as financial advisors to represent and assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations; and, in connection therewith, each of the Authorized Signatories, with power of delegation, is
hereby authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of KPMG; and further

         RESOLVED, that each of the Authorized Signatories is authorized and directed to employ the firm
Houlihan Lokey Capital, Inc. (“Houlihan”), as investment banker to represent and assist the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain the services of Houlihan;
and further


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         RESOLVED, that each of the Authorized Signatories is authorized and directed to employ the firm
of Bankruptcy Management Solutions d/b/a Stretto (“Stretto”) as notice and claims agent to represent and
assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance the Company’s rights and obligations; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed appropriate applications for authority to
retain the services of Stretto; and further

        RESOLVED, that each of the Authorized Signatories is authorized and directed to employ the firm
of Daniel J. Edelman Holdings, Inc. (“Edelman”) as the Company’s communications consultant and
advisor to represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance the Company’s rights and obligations; and in connection therewith, each
of the Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
for authority to retain the services of Edelman; and further

         RESOLVED, that each of the Authorized Signatories is authorized and directed to employ any
other professionals to assist the Company in carrying out its duties under the Bankruptcy Code; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers and fees, and to cause
to be filed an appropriate application for authority to retain the services of any other professionals as
necessary; and further

        RESOLVED, that each of the Authorized Signatories is, with power of delegation, authorized,
empowered, and directed to execute and file all petitions, schedules, motions, lists, applications, pleadings,
and other papers and, in connection therewith, to employ and retain all assistance by legal counsel,
accountants, financial advisors, and other professionals and to take and perform any and all further acts and
deeds that each of the Authorized Signatories deem necessary, proper, or desirable in connection with the
Company’s Chapter 11 Case, with a view to the successful prosecution of such case; and further

   IV.     CASH COLLATERAL, DEBTOR-IN-POSSESSION FINANCING, AND ADEQUATE
                                    PROTECTION

         RESOLVED, that the Company will obtain benefits from: (a) the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”), which
is security for certain prepetition secured lenders (collectively, the “Secured Lenders”) party to that certain
Credit Agreement, dated as of December 15, 2017, among WS Holdings Acquisition, Inc., as the Initial
Borrower, Lakeland Tours, LLC d/b/a WorldStrides, as the Successor Borrower, Lakeland Finance, LLC,
as Holdings, the Lenders named therein, Goldman Sachs Bank USA as Administrative Agent (the “Agent”)
and Goldman Sachs Bank USA and BNP Paribas as Issuing Banks; and (b) the incurrence of debtor-in-
possession financing obligations by entering into that certain Senior Secured Super-Priority Debtor-In-
Possession Term Loan Agreement (the “DIP Credit Agreement”), to be dated on or about July 20, 2020
(the “DIP Financing”); and further

        RESOLVED, that in order to use and obtain the benefits of the (a) DIP Financing and (b) Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Company will provide certain
adequate protection to the Secured Lenders (the “Adequate Protection Obligations”), as documented in
proposed interim and final orders (the “DIP Order”) submitted for approval to the Bankruptcy Court; and
further



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         RESOLVED, that the form, terms, and provisions of the DIP Credit Agreement be, and hereby
are, in all respects approved; and further

         RESOLVED, that the form, terms, and provisions of the DIP Order to which the Company is or
will be subject and the actions and transactions contemplated thereby are authorized, adopted, and
approved, and each of the Authorized Signatories of the Company is authorized and empowered, in the
name of and on behalf of the Company, to take such actions and negotiate or cause to be prepared and
negotiated and to execute, deliver, perform, and cause the performance of, the DIP Order and the DIP Credit
Agreement, and such other agreements, certificates, instruments, receipts, petitions, motions, or other
papers or documents to which the Company is or will be a party, including, but not limited to, any security
and pledge agreement or guaranty agreement (collectively with the DIP Order and the DIP Credit
Agreement, the “DIP Documents”), and incur and pay or cause to be paid all fees and expenses and engage
such persons, in each case, in the form or substantially in the form thereof submitted to each Governing
Body, with such changes, additions, and modifications thereto as the officers of the Company executing the
same shall approve, such approval to be conclusively evidenced by such officers’ execution and delivery
thereof; and further

         RESOLVED, that the Company, as a debtor and debtor in possession under the Bankruptcy Code
be, and hereby is, authorized to incur the Adequate Protection Obligations, and to undertake any and all
related transactions on substantially the same terms as contemplated under the DIP Documents
(collectively, the “DIP Transactions”), including granting liens on substantially all of its assets to secure
such obligations; and further

         RESOLVED, that each of the Authorized Signatories of the Company is authorized and directed,
and each of them acting alone is authorized, directed, and empowered in the name of, and on behalf of, the
Company, as a debtor and debtor in possession, to take such actions as in their discretion is determined to
be necessary, desirable, or appropriate and execute the DIP Transactions, including delivery of: (a) the DIP
Documents and such agreements, certificates, instruments, fee letters, guaranties, notices, and any and all
other documents, including, without limitation, any amendments to any DIP Documents; (b) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by the agent
under the DIP Financing (the “DIP Agent”); and (c) such forms of account control agreements, lockbox
agreements, landlord agreements, collateral access agreements, officer’s certificates, and compliance
certificates as may be required by the DIP Documents (clauses (a) through (c) of this paragraph,
collectively, the “DIP Financing Documents”); and further

         RESOLVED, that each of the Authorized Signatories of the Company is authorized, directed, and
empowered in the name of, and on behalf of, the Company to file or to authorize the DIP Agent to file any
Uniform Commercial Code (the “UCC”) financing statements, any other equivalent filings, any intellectual
property filings and recordation and any necessary assignments for security or other documents in the name
of the Company that the Agents deem necessary or appropriate to perfect any lien or security interest
granted under the DIP Order, including any such UCC financing statement containing a generic description
of collateral, such as “all assets,” “all property now or hereafter acquired” and other similar descriptions of
like import, and to execute and deliver, and to record or authorize the recording of, such mortgages and
deeds of trust in respect of real property of the Company and such other filings in respect of intellectual and
other property of the Company, in each case as the DIP Agent may reasonably request to perfect the security
interests of the DIP Agent under the DIP Order; and further

        RESOLVED, that each of the Authorized Signatories of the Company is authorized, directed, and
empowered in the name of, and on behalf of, the Company to take all such further actions, including,
without limitation, to pay or approve the payment of all fees and expenses payable in connection with the
DIP Transactions and all fees and expenses payable in connection with the DIP Transactions and all fees

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and expenses incurred by or on behalf of the Company in connection with the foregoing resolutions, in
accordance with the terms of the DIP Financing Documents, which shall in their sole judgment be
necessary, proper, or advisable to perform the Company’s obligations under or in connection with the DIP
Order or any of the other DIP Financing Documents and the transactions contemplated therein and to carry
out fully the intent of the foregoing resolutions; and further

                                             V.    GENERAL

         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) is authorized
and empowered, in the name of and on behalf of the Company, to take or cause to be taken any and all such
other and further action, and to execute, acknowledge, deliver, and file any and all such agreements,
certificates, instruments, and other documents and to pay all expenses, including but not limited to filing
fees, in each case as in such Authorized Signatories’ judgment, shall be necessary, advisable, or desirable
in order to fully carry out the intent and accomplish the purposes of the resolutions adopted herein; and
further

         RESOLVED, that each Governing Body has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required by the
organizational documents of the Company, or hereby waives any right to have received such notice; and
further

         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of the Company, which acts would have been
approved by the foregoing resolutions except that such acts were taken before the adoption of these
resolutions, are hereby in all respects approved and ratified as the true acts and deeds of the Company with
the same force and effect as if each such act, transaction, agreement, or certificate has been specifically
authorized in advance by resolution of each Governing Body.

        RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of each
Company with respect to the transactions contemplated by these resolutions hereunder, as such Authorized
Signatory shall deem necessary or desirable in such Authorized Signatory’s reasonable business judgment
as may be necessary or convenient to effectuate the purposes of the transactions contemplated herein.




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                                              Exhibit A

1. Lakeland Holdings, LLC, a Delaware limited liability company

2. WS Holdings Acquisition, Inc., a Delaware corporation

3. WS Holdings, Inc., a Delaware corporation

4. WS Purchaser, Inc., a Delaware corporation

5. WH Blocker, Inc., a Delaware corporation

6. Lakeland Seller Finance, LLC, a Delaware limited liability company

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